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                  14                        UNITED STATES DISTRICT COURT
                                          NORTHERN DISTRICT OF CALIFORNIA
                  15                             OAKLAND DIVISION
                  16

                  17     GRANT HOUSE, et al.,                           CASE NO.: 4:20-CV-03919 CW
                                                     Plaintiffs,
                  18     v.
                                                                        MOTION BY THE STATE OF SOUTH
                  19     NATIONAL COLLEGIATE ATHLETIC                   DAKOTA TO COMPEL 28 U.S.C. §
                         ASSOCIATION, et al.,                           1715 NOTICE
                  20                          Defendants.
                                                                        Date: TBD
                  21                                                    Time: TBD
                                                                        Dept: TBD
                  22                                                    Judge: Hon. Claudia Wilken

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N ATIONAL L ITI GATION
LAW GROUP
                                      MOTION BY THE STATE OF SOUTH DAKOTA TO COMPEL 28 U.S.C. § 1715 NOTICE
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                    1
                                         MOTION TO COMPEL 28 U.S.C. 1715 NOTICE
                    2
                                The State of South Dakota, for and on behalf of the University of South Dakota
                    3
                         and South Dakota State University, by and through its Attorney General, files this
                    4

                    5    motion to compel defendants to provide notice to South Dakota, and all other states to

                    6    whom notice is due (Affected States), as required by 28 U.S.C. § 1715(b).
                    7           South Dakota and other Affected States host institutions which participate in
                    8
                         Division I athletics in the National Collegiate Athletic Association (NCAA). Though
                    9
                         the Settlement has serious financial implications for South Dakota and other Affected
                  10
                         States and their institutions of higher education, proper notice of the Settlement has not
                  11

                  12     been served by the NCAA or other defendants (hereinafter collectively referred to as

                  13     NCAA) as required by 28 U.S.C. § 1715.

                  14            28 U.S.C. § 1715(b)(7) notice obliges the NCAA to inform state Attorneys
                  15     General of “the names of the class members who reside in each state and the estimated
                  16
                         proportionate share of the claims of such members to the entire settlement.” If it is not
                  17
                         feasible to provide this information, the notice must provide “a reasonable estimate of
                  18
                         the number of class members residing in each state and the estimated proportionate
                  19

                  20     share of the claims of such members to the entire settlement.” The NCAA’s notice

                  21     facially fails to comply with either of these requirements.

                  22            Instead, the NCAA’s “notice” states that it is in the process of gathering the
                  23
                         required information and instructs state Attorneys General to contact Verita Global, LLC
                  24
                         to obtain this information at a later date. Per 28 U.S.C. § 1715(a)(2), it is incumbent on
                  25
                         the NCAA to provide the information required by 28 U.S.C. § 1715(b)(7)(A) or (B) to
                  26
                         appropriate state officials to effect proper notice. Referring state officials to some third-
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                  28                                                          -2-
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                    1
                         party who the NCAA says will be able to provide this information at some unspecified
                    2
                         date in the future is not an option under 28 U.S.C. § 1715(b)(7).             Without the
                    3
                         information required by 28 U.S.C. § 1715(b)(7)(A) or (B), the NCAA’s “notice” is
                    4

                    5    deficient.

                    6            Notice to affected state Attorneys General is necessary “to ensure that [they are]

                    7    …in a position to react if the settlement appears unfair to some or all class members.”
                    8    S.Rep. 109-14 at 32 (2005), reprinted in 2005 U.S.C.C.A.N. 3, 32. “Notice” which does
                    9
                         not provide South Dakota or other Affected States with the information necessary for
                  10
                         their Attorneys General to assess if the settlement is fair to class members is no notice at
                  11
                         all. Not only have South Dakota and other Affected States’ Attorneys General not
                  12

                  13     received proper notice of the settlement, their educational institutions were not informed

                  14     of the existence or terms of the Settlement before the initial request for approval was

                  15     filed with this Court on July 26, 2024. DOCKET 450. In fact, the NCAA actively
                  16
                         excluded South Dakota and other non-Power 4 Affected States’ educational institutions
                  17
                         from any role in the Settlement negotiations.
                  18
                                 Proper notice to South Dakota and other Affected States is a prerequisite to
                  19
                         evaluating the impact of the settlement on state class members.          Per 28 U.S.C. §
                  20
                  21     1715(d), the settlement may not be approved earlier than 90 days from the date that

                  22     South Dakota and all Affected States are served with the required notice. That 90 days
                  23     has not started to run because the NCAA has not complied with the notice requirement.
                  24
                                 On October 17, 2024, The State of South Dakota notified the NCAA’s counsel
                  25
                         that its notice was deficient. See NCAA LETTER, copy attached as Exhibit 1. South
                  26
                         Dakota asked the NCAA to inform it within ten says of the steps it intended to take to
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                  28                                                         -3-
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                    1
                         cure the defective notice. The NCAA has not responded, which South Dakota interprets
                    2
                         as an intent to avoid its notice responsibilities under 28 U.S.C. § 1715.
                    3

                    4

                    5                                           CONCLUSION

                    6           28 U.S.C. § 1715 notice is a requisite first step in the approval of the subject

                    7    Settlement. The NCAA has failed to provide the required notice. Approval of this
                    8    settlement without due notice prevents South Dakota and other Affected States from
                    9
                         assessing the fairness of the settlement to state class members. Per 28 U.S.C. § 1715, it
                  10
                         is not up to simply the named parties of a class action to decide what is fair. State
                  11
                         Attorneys General have a role to ensure that the interests of certain class members do
                  12

                  13     not overbear the interests of other class members. Other objectors have raised concerns

                  14     regarding the fairness of the settlement to certain class members.1 State Attorneys

                  15     General cannot begin to fulfill their role of ensuring fairness to all class members
                  16
                         without the notice required by 28 U.S.C. § 1715.
                  17
                                The Affected States accordingly request that the NCAA be ordered to serve
                  18
                         proper 28 U.S.C. § 1715 notice on the Attorneys General for the State of South Dakota
                  19
                         as well as all other states for whom such notice is required.
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                  27        1 Hausfeld Objection, Docket 539 at 13-14; MoloLamken Objection, Docket 475 at 1, 7, 11.


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                         Dated: November 13, 2024                   Respectfully submitted,
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